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                Proposed Order Dismissing Case Page 1 of 1



                         UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF PENNSYLVANIA


In re:                                                       19-17117 (AMC)
VASCULAR ACCESS CENTERS, L.P.,                                Chapter 11
       Debtor.




                                      ORDER OF DISMISSAL

                AND NOW, to wit, this          day of                    , 2021, in consideration

of the United States Trustee’s Motion to Dismiss, and after hearing in open court, and for the

reasons stated on the record, it is

                ORDERED, that the Motion is GRANTED, and that this case is dismissed

pursuant to 11 U.S.C. § 1112(b),

                IT IS FURTHER ADJUDGED that the Debtor is indebted to the United States

Trustee in the sum of $_________ for outstanding quarterly fees pursuant to 28 U.S.C. §

1930(a)(6).

                                                     BY THE COURT:



                                                     _____________________________
                                                     Honorable Ashely M. Chan
                                                     United States Bankruptcy Judge
